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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

ASHLEE SUTTLE, and                      )
CHELSEA TURNER,                         )
                                        )
      Plaintiffs,                       )
                                        )      Civil Action File
vs.                                     )      No.
                                        )
LA SALSA MEX INC.,                      )
                                        )
      Defendant.                        )

                                    COMPLAINT

       Plaintiffs Ashlee Suttle and Chelsea Turner (collectively “Plaintiffs”) file

 this Complaint against La Salsa Mex Inc. (“Defendant” or “La Salsa Mex”) for

 violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq., to

 recover unpaid wages, liquidated damages, prejudgment interest, costs, and

 attorneys’ fees. Plaintiffs allege as follows:

                          VENUE AND JURISDICTION

      1.      This court has subject matter jurisdiction over Plaintiffs’ FLSA claims

pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

      2.      Venue is proper in the Northern District of Georgia pursuant to 28

U.S.C. § 1391.

      3.      Defendant transacts business in this judicial district and the events

giving rise to the claims herein occurred in this judicial district and division.
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                                    THE PARTIES

      4.       The relevant time period is three (3) years prior to the filing of this

complaint.

      5.       Plaintiff Suttle is a citizen and resident of Georgia in this district and

division.

      6.       Plaintiff Turner is a citizen and resident of Georgia in this district and

division.

      7.       Defendant is a Georgia corporation with its principal office address on

file with the Georgia Secretary of State as 1004 Maple Street, Carrollton, GA

30117.

      8.       Defendant’s registered agent for service of process is Steve R. Farris,

8510 Hospital Dr., Douglasville, GA 30134.

                                        FACTS

      9.       Defendant owns and operates La Salsa Mex restaurant located at 1004

Maple Street, Carrollton, GA 30117 (the “Restaurant”).

      10.      At all relevant times, Plaintiffs were employed at the Restaurant.

      11.      Plaintiff Suttle was hired by and began employment with Defendant

as a server and bartender in June 2018.

      12.      Plaintiff Suttle’s employment with Defendant ended in July 2019.

      13.      Plaintiff Turner was hired by and began employment with Defendant
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as a server in June 2018.

      14.    Plaintiff Turner’s employment with Defendant ended in August 2019.

      15.    At all times during their employment, Plaintiffs were “employees” of

Defendant and covered under the FLSA.

      16.    At all relevant times, Defendant was an employer of Plaintiffs within

the meaning of the FLSA.

      17.    At all relevant times, Defendant had multiple employees, including

Plaintiffs, handling, selling, or otherwise working on goods or materials that have

been moved in or produced for interstate commerce by any person.

      18.    At all relevant times, Defendant was an enterprise with annual gross

volume of sales made or business done of not less than $500,000.00.

      19.    At all relevant times, Plaintiffs were non-exempt, tipped employees of

Defendant and were promised $2.13 per hour for each hour worked (assuming the

tip credit applied).

      20.    At all relevant times, Plaintiffs were denied earned wages by

Defendant while working at the Restaurant.

      21.    Defendant maintained records of hours that Plaintiffs worked.

      22.    At all relevant times, Defendant’s policy and practice was to not

compensate employees, including Plaintiffs, for all hours worked.

      23.    Defendant’s policy and practice was to only compensate employees,
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including Plaintiffs, for their scheduled hours and not their actual hours worked.

         24.   Defendant’s policy and practice was to have tipped employees,

including Plaintiffs, arrive at the Restaurant and begin working 15 to 30 minutes

prior to the Restaurant’s opening and their scheduled shift to perform non-tip

related, maintenance tasks while off the clock.

         25.   Defendant’s policy and practice was to have tipped employees,

including Plaintiffs, remain at the Restaurant and continue working 45 to 90

minutes after their scheduled shift to perform non-tip related tasks while off the

clock.

         26.   At the beginning of each tipped employee’s employment, Defendant

required employees, including Plaintiffs, to complete a three to four-day training at

the Restaurant.

         27.   Defendant’s policy and practice was to have those employees,

including Plaintiffs, complete their training while off the clock.

         28.   At all relevant times, Defendant’s policy and practice of not paying

employees, including Plaintiffs, minimum wage for all hours worked violated the

FLSA.

                              COUNT I
                FAIR LABOR STANDARDS ACT VIOLATIONS
                           MINIMUM WAGE

         29.   Plaintiffs repeat and reallege each paragraph above as if it were fully
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set forth at length herein.

      30.     At all relevant times, Defendant was Plaintiffs’ employer engaged in

interstate commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and

207(a).

      31.     At all relevant times, Defendant employed Plaintiffs within the

meaning of the FLSA.

      32.     At all relevant times, Defendant failed to compensate its employees,

including Plaintiffs, at the applicable federal minimum wage.

      33.     At all relevant times, Defendant failed to compensate its employees,

including Plaintiffs, for all hours worked.

      34.     As a result of Defendant’s willful failure to pay Plaintiffs the

appropriate minimum wage, Defendant violated the FLSA, 29 U.S.C. §§ 206(a)(1)

and 215(a).

      35.     Defendant’s conduct constitutes a willful violation of the FLSA within

the meaning of 29 U.S.C. § 255(a).

      36.     Due to Defendant’s FLSA violations, Plaintiffs were damaged and are

entitled to recover from Defendant compensation for unpaid wages; an additional

equal amount as liquidated damages; and reasonable attorneys’ fees, costs, and

disbursements of this action pursuant to 29 U.S.C. § 216(b).


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      WHEREFORE, Plaintiffs demand a trial by jury and request that this Court

grant the following relief against Defendant:

      A.      An award of unpaid compensation for wages to Plaintiffs;

      B.      An award of all liquidated damages for unpaid wages to Plaintiffs;

      C.      An award of costs and expenses of this action together with reasonable

              attorneys’ and expert fees to Plaintiffs; and

      D.      Such other and further relief as this Court deems just and proper.



Respectfully submitted this August 26, 2020,

                                                 HALL & LAMPROS, LLP

                                                 /s/ Gordon Van Remmen
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